         Case 4:18-cv-00259-BSM Document 71 Filed 09/26/19 Page 1 of 8




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

JOHNNY BANKS                                                                      PLAINTIFF

v.                           CASE NO. 4:18-CV-00259 BSM

SHELBY HAWKINS;
CITY OF SHANNON HILLS                                                         DEFENDANTS


                                           ORDER

       Defendants’ motion for summary judgment [Doc. No. 44] is granted on Johnny

Banks’s equal protection, negligent hiring, failure to train, and ratification claims, and denied

on Banks’s excessive force claim. Banks’s cross-motion for summary judgment [Doc. No.

52] is denied.

                                         I. BACKGROUND

       Johnny Banks and his wife, Vanessa, had a heated argument in their home over an

anonymous letter she received accusing him of infidelity, and Vanessa called 911. Defs.

Statement of Facts (“Defs. F.”) ¶¶ 1–2, 10, 12, Doc. No. 49; Pl.’s Statement of Facts (“Pl.

F.”) ¶¶ 2–3, 5-6, Doc. No. 51. Although Vanessa failed to speak to the 911 operator, the

operator could hear yelling in the background. Defs. F. ¶¶ 14–16; Pl. F. ¶ 8. The City of

Shannon Hills Police Officer Shelby Hawkins was dispatched to the Banks’s home to

investigate a domestic disturbance and a 911 hang-up call. Defs. F. ¶¶ 17–18; Pl. F. ¶ 8.

       Hawkins knocked on the front door and announced his presence multiple times, but

his knocks went unanswered. Defs. F. ¶ 42; Pl. F. ¶ 13. Hawkins heard noises and what he
         Case 4:18-cv-00259-BSM Document 71 Filed 09/26/19 Page 2 of 8




described as muffled “no’s.” Defs. F. ¶¶ 36–37, 39; Pl. F. ¶¶ 14–15. Hawkins pulled his gun

and began kicking the door. Defs. F. ¶¶ 48–49; Pl. F. ¶ 17. When Banks opened the door,

something hit Hawkins on the head, and Hawkins shot Banks in the leg. Defs. F. ¶¶ 55, 62,

73; Pl. F. ¶¶ 18, 23–26, 35.

       Banks alleges that Hawkins and the City of Shannon Hills violated his right to be free

from excessive force and his right to equal protection. Banks alleges that the City

negligently hired and failed to train Hawkins, and that the City ratified Hawkins’s actions.

Banks, Hawkins and the City move for summary judgment.

                                     II. LEGAL STANDARD

       Summary judgment is appropriate when there is no genuine dispute as to any material

fact, and the moving party is entitled to judgment as a matter of law. See Fed. R. Civ. P.

56(a); Anderson v. Liberty Lobby Inc., 477 U.S. 242, 249–50 (1986). Once the moving party

demonstrates that there is no genuine dispute of material fact, the non-moving party may not

rest upon the mere allegations or denials in his pleadings. Holden v. Hirner, 663 F.3d 336,

340 (8th Cir. 2011). Instead, the non-moving party must produce admissible evidence

demonstrating a genuine factual dispute requiring a trial. Id.

       “If a party fails to properly support an assertion of fact or fails to properly address

another party’s assertion of fact as required by Rule 56(c), the court may consider the fact

undisputed for purposes of the motion.” Fed. R. Civ. P. 56(e)(2). All reasonable inferences

must be drawn in a light most favorable to the nonmoving party, Holland v. Sam’s Club, 487

F.3d 641, 643 (8th Cir. 2007), but a plaintiff’s own self-serving, conclusory allegations in

                                              2
          Case 4:18-cv-00259-BSM Document 71 Filed 09/26/19 Page 3 of 8




an affidavit or deposition, standing alone, are insufficient to defeat summary judgment. Haas

v. Kelly Services, 409 F.3d 1030, 1034 (8th Cir. 2005). Finally, the evidence is not weighed,

and no credibility determinations are made. Jenkins v. Winter, 540 F.3d 742, 750 (8th Cir.

2008).

                                          III. DISCUSSION

         A.     Excessive Force

         All parties’ motions for summary judgment are denied as to Banks’s excessive force

claim because there are genuine disputes of fact that must be resolved.

         In determining whether an officer’s use of force is constitutional, one must determine

whether the force was objectively reasonable from the perspective of an officer on the scene.

See Loch v. City of Litchfield, 689 F.3d 961, 965 (8th Cir. 2012) (citing Graham v. Connor,

490 U.S. 386, 396–97 (1989)). In making this determination, courts consider the severity of

the crime at issue, whether the suspect posed an immediate threat to the officer or others, and

whether the suspect resisted or attempted to evade arrest. See id.

         The parties present conflicting versions of the events that led Hawkins to shoot Banks.

They dispute the state of affairs outside the Banks’s residence when Hawkins arrived.

Defendants claim Hawkins heard multiple muffled screams, which led him to believe a

domestic disturbance was taking place inside. Defs. F. ¶ 42. Banks asserts that Hawkins

heard a noise, but not a voice, before knocking on the door. Dep. Hawkins at 56, 63.

         The parties also dispute Banks’s demeanor when he opened the door. Defendants

claim that Banks forcefully opened the door with his arm raised and cursed at Hawkins right

                                                3
         Case 4:18-cv-00259-BSM Document 71 Filed 09/26/19 Page 4 of 8




before Hawkins was struck in the head by a metal sign hanging above the door. Defs. F. ¶¶

42–45. Defendants assert that, when Hawkins was struck, he reflexively shot Banks out of

fear for his safety. Id. Banks claims that all he did was open the door and that Hawkins

instantaneously shot him. Pl. F. ¶ 18.

       These conflicting versions of events create a factual dispute that may support different

outcomes. Summary judgment is therefore inappropriate.

       B.     Equal Protection

       Defendants’ motion for summary judgment is granted and Banks’s motion for

summary judgment is denied as to Banks’s claim that Hawkins violated his right to equal

protection under the law.

       Banks, who is black, has offered nothing more than a conclusory assertion that

Hawkins, who is white, shot him due to his race. Am. Compl. ¶¶ 63–65; see Jenkins, 540

F.3d at 750. This is not enough to support an equal protection violation. See Vill. of

Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 268–71 (1977) (holding that

defendant acted with a discriminatory purpose and his actions had a discriminatory effect);

see also Johnson v. Crooks, 326 F.3d 995, 999–1000 (8th Cir. 2003) (holding that the district

court erred in failing to dismiss plaintiff’s equal protection claim when she offered no

evidence that the officer only stopped black drivers). Because Banks has offered no evidence

supporting his equal protection claim, defendants’ motion for summary judgment is granted

and Banks’s motion for summary judgment is denied.



                                              4
         Case 4:18-cv-00259-BSM Document 71 Filed 09/26/19 Page 5 of 8




       C.     Qualified Immunity

       Qualified immunity is denied on Hawkins’s excessive force claim. Whether Hawkins

is immune from Banks’s equal protection claim is not addressed because summary judgment

has been granted on that claim.

       Police officers are immune from suit unless they violate a clearly established right.

See Estate of Morgan v. Cook, 686 F.3d 494, 496 (8th Cir. 2012). Summary judgment is

denied on Banks’s individual capacity claim against Hawkins because factual disputes

preclude findings of both qualified immunity and summary judgment. Evaluating a claim

of qualified immunity requires a determination of whether the facts shown by the plaintiff

make out a violation of a clearly established constitutional or statutory right. See Cook, 686

F.3d at 496. Qualified immunity is inappropriate when a genuine dispute exists concerning

facts material to the issue of qualified immunity. See Pace v. City of Des Moines, 201 F.3d

1050, 1056 (8th Cir. 2000).

       Individuals have a right to be free from excessive force if a reasonable officer could

not believe that the individual posed a serious threat to the officer or others. Compare

Ellison v. Lesher, 796 F.3d 910, 917 (8th Cir. 2015) (holding that an officer did not have

qualified immunity for shooting an elderly man in his home when her only rationale for

shooting was that he charged at her while swinging a cane), with Mullenix v. Luna, 136 S.

Ct. 305, 312 (2015) (holding that an officer had qualified immunity for shooting a suspect

fleeing arrest who was driving over 100 mph, possibly drunk, had threatened to kill officers

pursuing him, and was driving towards another officer).

                                              5
         Case 4:18-cv-00259-BSM Document 71 Filed 09/26/19 Page 6 of 8




       Whether Hawkins reasonably thought Banks was a serious and immediate threat is in

dispute. Defs. F. ¶¶ 42–45; Pl. F. ¶¶ 18, 31. When the parties dispute the officer’s

reasonableness in using force, qualified immunity for the officer’s use of force is

inappropriate. See Craighead v. Lee, 399 F.3d 954, 963 (8th Cir. 2005).

       D.     Negligent Hiring

       Defendants’ motion for summary judgment is granted and Banks’s motion for

summary judgment is denied on Banks’s negligent hiring claim against the City because

there is no evidence supporting this claim.

       A city is liable for its employee’s unconstitutional conduct under a negligent hiring

theory if adequate review of an applicant’s background would have led reasonable

policymakers to conclude that hiring the applicant would lead to a violation of a federal right,

and that violation actually occurs. See Bd. of Cty. Comm’rs of Bryan Cty. v. Brown, 520 U.S.

397, 411 (1997); see also Morris v. Crawford Cty., 299 F.3d 919, 924–25 (8th Cir. 2002).

Banks argues that the City negligently hired Hawkins because the chief of police failed to

personally review Hawkins’s personnel file from his previous employer, another police

department. Dep. Allen Spears at 19–22. Banks does not argue that the chief would have

concluded that Hawkins was likely to violate anyone’s rights had the chief read the file. See

Brown, 520 U.S. at 411. In response, the City presents proof that it took the following steps

to assure that Hawkins would be a competent officer: (1) it performed a background

investigation of Hawkins; (2) it interviewed Hawkins; (3) it confirmed Hawkins’s

psychological examination; and (4) it confirmed his police training certifications. Defs. Br.

                                               6
         Case 4:18-cv-00259-BSM Document 71 Filed 09/26/19 Page 7 of 8




Supp. Summ. J. at 24–25. Banks does not dispute these contentions.

       E.     Failure to Train

       Defendants’ motion for summary judgment is granted and Banks’s motion for

summary judgment is denied on Banks’s failure to train claim against the City.

       To succeed on his failure to train claim, Banks must show that his rights were violated

as a result of Hawkins’s deliberate indifference, and that Hawkins’s deliberate indifference

was a direct result of the City’s failure to train Hawkins. See Andrews v. Fowler, 98 F.3d

1069, 1076–77 (8th Cir. 1996) (citing City of Canton v. Harris, 489 U.S. 378, 389–90

(1989)). Training policies are deliberately indifferent if the need for more or different

training is so obvious that a reasonable policymaker could conclude that a violation of a

federal right would result. See id. A pattern of similar constitutional violations by untrained

employees is usually necessary to show deliberate indifference. See Connick v. Thompson,

563 U.S. 51, 62–64 (2011) (holding that four overturned convictions based on Brady

violations statewide did not constitute a pattern sufficient to make a city liable for not

training its prosecutors on Brady obligations).

       It is undisputed that Hawkins was not trained on how to conduct forcible entries. Pl.’s

Br. Supp. Summ. J. at 34; Defs. Resp. to Pl’s F. at 27, Doc. No. 62. The lack of specific

training, alone, does not create liability for the City. Nothing indicates the City’s officers

engaged in a pattern of using excessive force in forcible entries. The City was therefore not

deliberately indifferent to a demonstrated risk that its officers lacked adequate training.



                                              7
         Case 4:18-cv-00259-BSM Document 71 Filed 09/26/19 Page 8 of 8




       F.     Ratification

       Defendants’ motion for summary judgment is granted and Banks’s motion for

summary judgment is denied on Banks’s claim that the City ratified Hawkins’s conduct.

       The City may be held liable for Hawkins’s actions if the City’s final policymakers

approved Hawkins’s conduct and his basis for his actions. See Soltesz v. Rushmore Plaza

Civic Center, 847 F.3d 941, 947 (8th Cir. 2017) (citing City of St. Louis v. Praprotnik, 485

U.S. 112, 127 (1988)). In Arkansas, the city council and mayor are the final policymakers

for cities. Ark. Code Ann. § 14-52-101 (2019). Nothing indicates the city council or mayor

was aware of Hawkins’s conduct, much less that either approved of his conduct or the

reasons why he took those actions. Therefore, the City’s final policymakers did not ratify

Hawkins’s conduct or rationale for his actions.

                                        IV. CONCLUSION

       For the foregoing reasons, defendants’ motion for summary judgment [Doc. No. 44]

is granted as to Banks’s equal protection, negligent hiring, failure to train, and ratification

claims, and denied as to Banks’s excessive force claim. Banks’s cross-motion for summary

judgment [Doc. No. 52] is denied.

       IT IS SO ORDERED this 26th day of September 2019.




                                                     _______________________________
                                                     UNITED STATES DISTRICT JUDGE



                                              8
